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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NORTH DAKOTA

                                                    )   Bankr. Case No. 16-30672
 In re:
                                                    )
                                                    )   Chapter 7
 Vortex Drain Tiling LLC,
                                                    )
                                                    )   NOTICE OF APPLICATION FOR
                                      Debtor.
                                                    )   APPROVAL OF EMPLOYMENT OF
                                                    )   ACCOUNTANT


The undersigned Trustee has filed and served an Application for Approval of Employment of Special
Counsel, dated June 28, 2018. Your rights may be affected in the action. You should read the papers
carefully and discuss the matters with your attorney if you have one. If you want the court to consider
your views you should mail a written response to the action, within 14 days of the date of mailing of
this document, and file the response with the Clerk of the Bankruptcy Court and a copy served upon
the U.S. Trustee and the Bankruptcy Trustee.

Clerk, U.S. Bankruptcy Court       U.S. Trustee                       Trustee
Quentin N. Burdick U.S.            314 South Main Ave                 (see address below)
Courthouse                         Suite 303
655 First Ave N, Ste 210           Sioux Falls, SD 57104-6462
Fargo ND 58107-4932
          DATED this 11th day of July, 2018.

                                                               /s/ Forrest C. Allred
                                                               Forrest C. Allred
                                                               Chapter 7 Trustee
                                                               14 2nd Ave SE, Suite 200
                                                               Aberdeen, SD 57401
                                                               Telephone: (605) 225-3933
                                                               Fax: (605) 225-3933
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                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NORTH DAKOTA

                                                   )   Bankr. Case No. 16-30672
 In re:
                                                   )
                                                   )   Chapter 7
 Vortex Drain Tiling LLC,
                                                   )
                                                   )   APPLICATION FOR APPROVAL OF
                                      Debtor.
                                                   )   EMPLOYMENT OF ACCOUNTANT



          Forrest C. Allred, the duly appointed, qualified and acting Trustee in this case, for his

application for approval of employment of accountant pursuant to 11 USC §327(a), represents to the

Court:

          1.   Specific facts showing the necessity for the employment: The Trustee is in need of

professional assistance to prepare employment tax returns and federal income tax returns, and to

advise him on the tax implication of possible transactions.

          2.   Name of person to be employed: Craig Merry, of Nichols, Rise & Company, LLP,

PO Box 3529, Sioux City, IA 51102, phone (712) 252-4309.

          3. The reasons for the selection: The person to be employed has practiced public

accountancy since 1980. He is a member of the American Institute of Certified Public

Accountants and the Iowa Society of Certified Public Accountants. He has been a partner at

Nichols, Rise & Company, LLP, since 1991. He has prepared tax returns for bankruptcy trustees

22 years.


          4. The professional services to be rendered: To advise the Trustee in tax planning and

evaluation, to preparation of tax returns for the estate, and to perform such other services as are

deemed necessary and requested by the trustee in the administration of this case.
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       5. Proposed arrangements for compensation: $200.00 per hour, subject to the following

minimums: for reviewing an estate or transaction and determining that no return is required,

$150.00 per review; for preparation of individual returns, $350.00 per return; for preparation of

business returns, $600.00 per return.


       6. All of the proposed employee’s connections with the Debtor(s), creditors and any

other party in interest, their respective attorneys and accountants, United States Trustee, or any

person employed in the office of the United States Trustee, are: none.


       WHEREFORE, applicant asks that the Court approve such employment by the Trustee in

accordance with the terms hereinabove set forth.


       DATED this 25th day of June, 2018.

                                                              /s/ Forrest C. Allred
                                                              Forrest C. Allred
                                                              Chapter 7 Trustee
                                                              14 2nd Ave SE, Suite 200
                                                              Aberdeen, SD 57401
                                                              Telephone: (605) 225-3933
                                                              Fax: (605) 225-3933

                                         VERIFICATION

        I, Craig Merry, of Sioux City, Iowa, the person named in the foregoing application to be
employed by the trustee in this case, declare under penalty of perjury that my connections with the
debtors, creditors, or any other party in interest, their respective attorneys and accountants, United
States Trustee, or any person employed in the office of the United States Trustee are: none.

       DATED this 28th day of June, 2018.

                                                              /s/ Craig Merry
                                                              Craig Merry
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                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NORTH DAKOTA

                                                    ) Bankr. Case No. 16-30672
 In re:
                                                    )
                                                    ) Chapter 7
 Vortex Drain Tiling LLC,
                                                    )
                                                    ) CERTIFICATE OF SERVICE
                                       Debtor.
                                                    )

I declare under penalty of perjury that on July 11, 2018, I served the “Notice of Application and
Application for Approval of Employment of Accountant” via First Class Mail, postage pre-paid to the
parties listed below and that a true copy of the document was served electronically by Notice of
Electronic Filing upon all parties who have requested service in this case by filing the same via ECF
with the Bankruptcy Court in the District of North Dakota which automatically causes a notification
of the filing to be sent to all ECF participants of record in this matter, and this constitutes service.

Vortex Drain Tilling LLC
741 Ashley Lane NE
Thompson, ND 58278
The U. S. Trustee will be served electronically at USTPRegion12.SX.ECF@usdoj.gov.


DATED this 11th day of July, 2018.

                                                                 /s/ Forrest C. Allred
                                                                 Forrest C. Allred
                                                                 Chapter 7 Trustee
                                                                 14 2nd Ave SE, Suite 200
                                                                 Aberdeen, SD 57401
                                                                 Telephone: (605) 225-3933
                                                                 Fax: (605) 225-3933
